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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION

     CYNTHIA B. SCOTT, et al.,
                                                          CASE NO. 3:12-cv-00036
                                        Plaintiffs,

                           v.                             ORDER OF APPOINTMENT

     HAROLD W. CLARKE, et al.,
                                                          JUDGE NORMAN K. MOON
                                       Defendants.


         Pursuant to § IV.1 of the Settlement Agreement, and upon consideration of the parties’

  competing submissions and arguments, the Court hereby APPOINTS as Compliance Monitor in

  this case Dr. Homer Venters.

         The Court FINDS Dr. Venters to be a knowledgeable individual with expertise and

  experience in the field of correctional medicine, possessing requisite qualifications for the position

  under the terms of the Settlement Agreement.

         The Court FINDS that Dr. Venters’ combination of expertise and experience, including

  regarding the inspection, evaluation and monitoring of healthcare systems in correctional facilities;

  development of and tracking compliance with performance metrics in correctional-setting

  healthcare; and prior and current epidemiological experience, including concerning correctional

  centers’ response plans to COVID-19; render Dr. Venters uniquely qualified for the position of

  Compliance Monitor in this case and at this time.

         The Court FINDS that Dr. Venters’ work as an expert in the Santos Garcia v. Wolfe, 1:20-

  cv-821 (E.D. Va.), as was described to the Court, does not constitute a conflict of interest within




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  the meaning of the Settlement Agreement or otherwise; nor have Defendants identified any other

  bar to Dr. Venters’ service as Compliance Monitor.

         Dr. Venters shall endeavor to fulfill the responsibilities of Compliance Monitor to the best

  of his ability, so as to facilitate complete, expeditious, and sustained compliance with the terms of

  the Settlement Agreement.

         It is so ORDERED.

         The Clerk of Court is directed to send a certified copy of this Order to all counsel of record,

  and to Dr. Venters.
                        22nd
         Entered this          day of December, 2020.




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